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CIVI.L COURT OF THE CITY OF NEW YORK

COUNTY OF NEW YORK
______________________________ X
MARIN`ERS COVE SITE B ASSOCIATES, : L&T Index No. 63974/ 14
Petitioner,
NOTICE OF MOTION
-against-
DR. STEVEN GREER
200 RECTOR PLACE 35F
NEW YORK, NEW YORK 10280
Respondent :
______________________________ X

PLEASE TAKE NOTICE, that upon the annexed affirmation of Deborah

Riegel, dated September 19, 2016, the annexed affirmation of Jet`frey Bodoff, dated September

15, 2016, the exhibits annexed thereto, and upon all prior papers and proceedings heretofore had

herein, petitioner will move this Court, Part F, at the Courthouse located at lll Centre Street,

Room 830, New York, New York, on OCtober 24, 2016, at 9:30 a.rn., or as soon thereafter as

counsel may be heard, for an Order:

i.

ii.

iii_

iv.

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Determining that petitioner is the prevailing party in this proceeding;

Entering a money judgment in favor of petitioner and against Dr. Steven
Greer (“Tenant”) for the attorneys’ fees, costs and disbursements incurred by
Landlord herein in the amount of $106,786.30, plus interest; or, in the
alternative

Setting this matter down for a hearing to determine petitioner’s attorneys’
fees, costs and disbursements that it may recover from Tenant;

Pursuant to CPLR 2606, directing the Cornrnissioner of Finance to release and
pay to petitioner Mariners Cove Site B Associates the $44,135.00 deposited,
plus accrued interest, less lawful fees, and mail said funds to Mariners Cove
Site B Associates c/o Rosenberg & Estis, P.C., 733 Third Avenue, New Yorl<,
NY 10017, Attn: Debora.h Riegel; and

For such other and further relief as this Court deems appropriatel

PLEASE TAKE FURTHER NOTICE that pursuant to CPLR 22.14(b),
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answering papers, if any, are to be served at least seven (7) days before the return date of the

motion

Dated: New Yorl<, `New York
September 19, 2016

TO: STEVEN GREER, pro se
5206 Sabine Hall
New Albany, Ohio

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ROSENBERG & ES_TIS, P.C.
Atrorneys for Perz`tz`oner

 
   

By:
Deborah Riegel
733 Third Avenue
New York, New York 1_0017
(212) 867-6000

